CaSe 2:02-CV-02248-SH|\/|-egb Document 183 Filed 07/18/05 Page 1_0f'3 Page|D 359

man ev _9;_ n.c.
IN THE UNITED STA'I‘ES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

wEsTERN DIvIsION 05 JUL '8 AH""'|
BARRY FIALA, INC_, CL%[§Q:$T?§M
Plaintiff,
VS' No. 02-2248-Ma

STORED VALUE SYSTEMS, INC

' 1

Defendant.

 

ORDER EXTENDING STAY AND RESETTING S'I‘ATUS CONFERENCE

 

Before the court is the July ll, 2005, joint motion of the
parties to extend the stay of this matter and to continue the

status conference which is presently set July 20, 2005. For good

cause shown, the motion is granted.

The stay is extended to August 3, 2005, to allow the parties

to complete mediation.

The status conference is reset to Wednesday, Angust 3, 2005,

at 9:00 a.m.

It is so ORDERED this "?Lday of July, 2005.

SAMUEL H. MAYS, JR.
UNITED S'I‘ATES DISTRICT JUDGE

 

 

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with Rule bd andlor 79(a) FRCP on

   

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Honorable Samuel Mays
US DISTRICT COURT

